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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                   )
                                           )               Crim. No. 19-10081-11- IT
V.                                         )
                                           )
JORGE SALCEDO                              )

         DEFENDANT’S ASSENTED-TO MOTION TO CONTINUE SENTENCING UNTIL
       JANUARY 2021 AND REQUEST FOR IN-PERSON APPEARANCE AT SENTENCING

        Jorge Salcedo, through counsel, respectfully requests that this Court reschedule his current

sentencing date of November 24, 2020 (the Tuesday before Thanksgiving) to a date convenient for the

Court in January 2021 to allow him to further prepare for sentencing and to permit him to spend the

holidays at home with his four minor children. By this motion, Jorge Salcedo also wishes to notify the

Court that he seeks to exercise his right to appear in-person at his sentencing before the Court, as

discussed as a possibility at his plea hearing.

                                                           JORGE SALCEDO
October 16, 2020                                           By his attorneys,

                                                           /s/ Susan G. Winkler
                                                           Susan G. Winkler
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                              Certificate of Service and Rule 7.1 Certification
   I hereby certify that I this day served counsel of record through ECF notification. I also certify I this
day conferred with AUSA Kristen Kearney who assented-to this motion.
                                                              /s/ Susan G. Winkler
                                                              Susan G. Winkler
